         Case 8:21-cv-01432 Document 1 Filed 09/01/21 Page 1 of 3 Page ID #:1




1    TRACY L. WILKISON
     Acting United States Attorney
2    DAVID M. HARRIS
     Assistant United States Attorney
3    Chief, Civil Division
     JOANNE S. OSINOFF
4    Assistant United States Attorney
     Chief, General Civil Section
5    TALYA M. SEIDMAN (Cal. Bar No. 336534)
     Assistant United States Attorney
6          Federal Building, Suite 7516
           300 North Los Angeles Street
7          Los Angeles, California 90012
           Telephone: (213) 894-7137
8          Facsimile: (213) 894-7819
           E-mail: Talya.Seidman@usdoj.gov
9
     Attorneys for Defendants Department of Homeland Security, Samuel Chairez
10
11                            UNITED STATES DISTRICT COURT
12                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
13                                 SOUTHERN DIVISION
14   PEDRO AVALOS PASARAN,                     No. SACV 21-1432
15              Plaintiff,
                                               NOTICE OF REMOVAL OF CIVIL
16                     v.                      ACTION
17   CITY OF SANTA ANA;
     DEPARTMENT OF HOMELAND                    [28 U.S.C. § 2679(d)(2)]
18   SECURITY; SAMUEL CHAIREZ;
     AND DOES 1 TO 50,
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                Defendants.
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          Case 8:21-cv-01432 Document 1 Filed 09/01/21 Page 2 of 3 Page ID #:2




1          TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
2    DISTRICT OF CALIFORNIA AND TO THE PLAINTIFF PEDRO AVALOS
3    PASARAN, BY AND THROUGH HIS COUNSEL OF RECORD:
4          PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. § 2679(d)(2), Defendant
5    Samuel Chairez (“Defendant”), hereby removes to this Honorable Court the State Court
6    action described below. The grounds for this removal are as follows:
7          1.     On May 26, 2020, Pedro Avalos Pasaran (“Plaintiff”) filed a civil action
8    against Defendant in the Superior Court of the State of California for the County of
9    Orange, entitled Pedro Avalos Pasaran v. City of Santa Ana; Department of Homeland
10   Security; Samuel Chairez; And Does 1 To 50, as Case No. 30-2020-01141394-CU-PA-
11   CJC. A copy of the Complaint and all other pleadings received to date are attached as
12   Exhibit 1. The Complaint appears to allege tort and personal injury claims.
13         2.     This action is one which must be removed to this Court pursuant to 28
14   U.S.C. § 2679(d)(2) in that the Defendant was acting within the course and scope of his
15   employment with the United States of America at all times material to the allegations
16   contained in the Complaint. A duly executed Certification of the Chief of the Civil
17   Division for the Central District of California, attesting to the foregoing, is attached as
18   Exhibit 2. This Court has exclusive jurisdiction over civil actions for money damages
19   for injury allegedly caused by the negligent or wrongful act or omission of an employee
20   of the United States which purportedly occurred in the course and scope of employment.
21   28 U.S.C. § 1346(b). Additionally, this Court has original jurisdiction over all civil
22   actions arising under the Constitution, laws or treaties of the United States. 28 U.S.C.
23   § 1331.
24         3.     Removal is timely under 28 U.S.C. § 2679(d)(2) in that the trial of Case No.
25   30-2020-01141394 has not yet commenced.
26         4.     Because this notice is being filed on behalf of the Defendant, no bond is
27   required under the terms of 28 U.S.C. § 2408 and 2679(d)(2).
28         WHEREFORE, Defendant removes the action now pending in the Superior Court
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          Case 8:21-cv-01432 Document 1 Filed 09/01/21 Page 3 of 3 Page ID #:3




1    of the State of California for the County of Orange, Case No. 30-2020-01141394-CU-
2    PA-CJC, to the United States District Court for the Central District of California.
3
4     Dated: September 1, 2021                 Respectfully submitted,
5                                              TRACY L. WILKISON
                                               Acting United States Attorney
6                                              DAVID M. HARRIS
                                               Assistant United States Attorney
7                                              Chief, Civil Division
                                               JOANNE S. OSINOFF
8                                              Assistant United States Attorney
                                               Chief, General Civil Section
9
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11
                                                  /s/ Talya M. Seidman
12                                             TALYA M. SEIDMAN
                                               Assistant United States Attorney
13
                                               Attorneys for Defendants Department of
14                                             Homeland Security, Samuel Chairez
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